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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  CITIZENS UNITED,

                 Plaintiff,

                         v.                        Civil Action No. 18-1252 (ABJ)

  U.S. DEPARTMENT OF STATE,

                 Defendant.


                                               ANSWER

       Defendant United States Department of State (“State”), by and through undersigned

counsel, hereby answers Plaintiff Citizens United’s Complaint as follows:

       The unnumbered first paragraph of the Complaint contains Plaintiff’s characterization of

its action to which no response is required.

                                JURISDICTION AND VENUE

       1.      This paragraph contains legal conclusions regarding jurisdiction to which no

response is required.

       2.      This paragraph contains legal conclusions regarding venue to which no response

is required.

                                               PARTIES

       3.      Defendant lacks knowledge or information sufficient to admit or deny the

allegations in this paragraph and therefore denies on that basis.

       4.      Defendant admits that it is a federal agency headquartered at the stated location.

The remainder of this paragraph contains conclusions of law to which no response is required.
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                                    STATEMENT OF FACTS

      5.      Defendant lacks knowledge sufficient to admit or deny the allegation that Plaintiff

routinely submits Freedom of Information Act (“FOIA”) requests and therefore denies that

allegation. Defendant admits that Plaintiff submitted a FOIA request dated March 7, 2018, but

denies that it is refusing to process the request. Defendant sent Plaintiff a final response by

letter dated March 9, 2018 (“March 9 Letter”), stating that the case had been closed because the

request failed to reasonably describe the records being sought. After the Complaint was filed,

Defendant notified Plaintiff that it had reconsidered its initial determination and planned to

process the request. See Def.’s Mot. Extension of Time, July 11, 2018 (ECF No. 5). By letter,

dated August 17, 2018, (“August 17 Letter”), Defendant confirmed that Plaintiff’s request had

been reopened and was assigned the new case number F-2018-01743. Defendant respectfully

refers the Court to its March 9 and August 17 Letters for a full and accurate statement of their

contents. Defendant further avers that after the Complaint was filed, State commenced a search

for responsive records. As of the filing of this Answer, that search is still ongoing and a final

response has not yet been issued.

      6.      Defendant admits that Plaintiff submitted a FOIA request dated March 7, 2018,

requesting the specified records. Defendant respectfully refers the Court to the referenced

FOIA request for a full and accurate statement of its contents. The remainder of this paragraph

contains a conclusion of law to which no response is required.

      7.      Defendant admits that Plaintiff requested expedited processing and asserted that it

was a member of the news media. Defendant respectfully refers the Court to the referenced

FOIA request for a full and accurate statement of its contents.

      8.      This paragraph sets forth a legal conclusion to which no response is required.

      9.      Defendant admits the allegations in this paragraph.
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      10.      Defendant admits the allegations in this paragraph. Defendant further avers that,

as per the August 17 Letter, State reconsidered the initial determination and reopened the case

after the Complaint was filed. Defendant respectfully refers the Court to the March 9 and

August 17 Letters for a full and accurate statement of their contents. Defendant further avers

that after the Complaint was filed, State commenced a search for responsive records. As of the

filing of this Answer, that search is still ongoing and a final response has not yet been issued.

      11.      Defendant admits the allegations in this paragraph. Defendant further avers that,

as per the August 17 Letter, State reconsidered the initial determination and reopened the case

after the Complaint was filed. Defendant respectfully refers the Court to the March 9 and

August 17 Letters for a full and accurate statement of their contents. Defendant further avers

that after the Complaint was filed State, commenced a search for responsive records. As of the

filing of this Answer, that search is still ongoing and a final response has not yet been issued.

      12.      Defendant admits that as of the filing of this Complaint it had not conducted or

completed any search in response to Plaintiff’s FOIA request. Defendant further avers that, as

per the August 17 Letter, State reconsidered the initial determination and reopened the case after

the Complaint was filed. Defendant respectfully refers the Court to the March 9 and August 17

Letters for a full and accurate statement of their contents. Defendant further avers that after the

Complaint was filed State commenced a search for responsive records. As of the filing of this

Answer, that search is still ongoing and a final response has not yet been issued. The remaining

allegations in this paragraph set forth a conclusion of law to which no response is required.

      13.      This paragraph sets forth conclusions of law to which no response is required.

                                     CAUSE OF ACTION
                              (Violation of FOIA, 5 U.S.C. § 552)

      14.      Defendant re-alleges its responses to Paragraphs 1 to 13 as if fully set out herein.


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       15.      This paragraph sets forth conclusions of law to which no response is required.

Defendant further avers that State reconsidered the initial determination and reopened the case

after the Complaint was filed. Defendant further avers that it commenced a search after the

Complaint was filed. As of the filing of this Answer, that search is still ongoing.

       16.      Defendant denies the allegations in this paragraph.

                                     PRAYER FOR RELIEF

       The remaining paragraph contains Plaintiff’s requests for relief, not allegations of fact,

and therefore no response is required. To the extent a response may be deemed necessary,

Defendant denies the allegations contained in these paragraphs, and further avers that Plaintiff is

not entitled to the requested relief or to any other relief from Defendant.

       Defendant denies each and every allegation contained in the Complaint not expressly

admitted in its Answer.

                                        FIRST DEFENSE

       The Complaint should be dismissed in whole or in part for failure to state a claim upon

which relief can be granted.

                                       SECOND DEFENSE

       The information requested in Plaintiff’s FOIA request is exempt in whole or in part under

the FOIA, 5 U.S.C. § 552.

                                        THIRD DEFENSE

       The Court lacks subject matter jurisdiction over any requested relief that exceeds the

relief authorized by the FOIA, 5 U.S.C. § 552.

       WHEREFORE, having fully answered, Defendant respectfully requests that the Court

dismiss the complaint with prejudice, enter judgment in favor of Defendant, grant Plaintiff no

relief, and grant Defendant such further relief as the Court deems just and proper.

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September 10, 2018                  Respectfully submitted,

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